                 Case 4:19-cv-07123-PJH Document 59-5 Filed 04/29/20 Page 1 of 18



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         10   WHATSAPP INC. and FACEBOOK, INC.

         11
                                            UNITED STATES DISTRICT COURT
         12
                                        NORTHERN DISTRICT OF CALIFORNIA
         13

         14
              WHATSAPP INC., a Delaware corporation,       Case No. 4:19-cv-07123-PJH
         15   and FACEBOOK, INC., a Delaware
              corporation,                                 WHATSAPP’S MOTION TO DISQUALIFY
         16                                                DEFENSE COUNSEL BASED ON PRIOR
                                                           REPRESENTATION IN A SEALED MATTER
         17                   Plaintiffs,

         18         v.                                     Date:      May 20, 2020
                                                           Time:      9:00 a.m.
         19   NSO GROUP TECHNOLOGIES LIMITED               Courtroom: 3, 3rd Floor
              and Q CYBER TECHNOLOGIES LIMITED,            Judge:     Hon. Phyllis J. Hamilton
         20
                              Defendants.
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         25                                     REDACTED VERSION OF
                                            DOCUMENT SOUGHT TO BE SEALED
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                                                                                    WHATSAPP’S MOTION TO
  COO
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                                                                               DISQUALIFY DEFENSE COUNSEL
 SAN F                                                                          CASE NO. 4:19-CV-07123-PJH
                    Case 4:19-cv-07123-PJH Document 59-5 Filed 04/29/20 Page 2 of 18


                                                                  TABLE OF CONTENTS
          1
                                                                                                                                                     Page
          2

          3   NOTICE OF MOTION ........................................................................................................................ 1
          4   I.   INTRODUCTION ................................................................................................................... 2
              II.  BACKGROUND ..................................................................................................................... 3
          5
                   A.    WhatsApp Service ....................................................................................................... 3
          6        B.    King & Spalding represented WhatsApp in a sealed proceeding involving
                         substantially the same issues presented in this litigation. ............................................ 4
          7
                   C.    King & Spalding has denied there is any conflict........................................................ 5
          8   III. LEGAL STANDARD.............................................................................................................. 6
          9   IV.  ARGUMENT ........................................................................................................................... 8
                   A.    This matter is substantially related to the matter in
         10                      . ........................................................................................................................ 8
         11        B.    King & Spalding possesses WhatsApp’s confidential information that is
                         material to this litigation. ........................................................................................... 13
         12   V.   CONCLUSION ...................................................................................................................... 14
         13

         14

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         27                                                                                                              WHATSAPP’S MOTION TO
                                                                                  -i-                               DISQUALIFY DEFENSE COUNSEL
                                                                                                                     CASE NO. 4:19-CV-07123-PJH
         28
  COO
ATTORN
 SAN F
Case 4:19-cv-07123-PJH Document 59-5 Filed 04/29/20 Page 3 of 18
                    Case 4:19-cv-07123-PJH Document 59-5 Filed 04/29/20 Page 4 of 18



          1   SC Innovations, Inc. v. Uber Techs., Inc.,
                 No. 18-cv-07440-JCS, 2019 WL 1959493 (N.D. Cal. May 2, 2019) ............................9, 10, 11
          2
              Trone v. Smith,
          3
                 621 F.2d 994 (9th Cir. 1980) .....................................................................................................9
          4
              TWiT, LLC v. Twitter Inc.,
          5     No. 18-cv-00341-JSC, 2018 WL 2470942 (N.D. Cal. June 1, 2018) ..................................7, 13

          6   Wu v. O’Gara Coach Co.,
                 38 Cal. App. 5th 1069 (2019) ....................................................................................................7
          7
              Other Authorities
          8
              California Rule of Professional Conduct 1.9 .......................................................................1, 3, 6, 8
          9

         10   Local Rule 11-4(a)(1) ..........................................................................................................1, 3, 6, 8

         11   Model Rules Prof. Conduct, Rule 1.9, cmt. 3 ..................................................................................7

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         27                                                                                                            WHATSAPP’S MOTION TO
                                                                                -iii-                              DISQUALIFY DEFENSE COUNSEL
                                                                                                                    CASE NO. 4:19-CV-07123-PJH
         28
  COO
ATTORN
 SAN F
                  Case 4:19-cv-07123-PJH Document 59-5 Filed 04/29/20 Page 5 of 18



          1                                          NOTICE OF MOTION

          2           To All Parties and Their Attorneys of Record:

          3           PLEASE TAKE NOTICE that on May 20, 2020 at 9:00 a.m., or as soon thereafter as the matter

          4   may be heard, Plaintiff WhatsApp Inc. (“WhatsApp”) will move to disqualify Defendants NSO Group

          5   Technologies Limited and Q Cyber Technologies Limited’s counsel of record, King & Spalding LLP.

          6   WhatsApp’s Motion to Disqualify Defense Counsel Based on Prior Representation in a Sealed Matter

          7   (“Motion to Disqualify”) is made pursuant to Local Rule 11-4(a)(1) and California Rule of

          8   Professional Conduct 1.9 and is based on this Notice of Motion and Motion, the accompanying

          9   Memorandum of Points and Authorities, the Declarations of Jacob Sommer, Travis LeBlanc, and Nitin

         10   Gupta, all pleadings and papers on file in this matter, and upon such matters as may be presented to

         11   the Court at the time of hearing or otherwise.

         12                                    STATEMENT OF RELIEF SOUGHT

         13           WhatsApp requests that the Court disqualify King & Spalding LLP based on a conflict of

         14   interest in violation of Local Rule 11-4(a)(1) and California Rule of Professional Conduct 1.9.

         15                                STATEMENT OF ISSUES TO BE DECIDED

         16           1.      Whether King & Spalding is violating Local Rule 11-4(a)(1) and California Rule of

         17   Professional Conduct 1.9 because this litigation is substantially related to a previous matter in which

         18   King & Spalding represented WhatsApp.

         19           2.      Whether King & Spalding is violating Local Rule 11-4(a)(1) and California Rule of

         20   Professional Conduct 1.9 because King & Spalding possesses WhatsApp’s confidential information

         21   that is material to this litigation.

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                                                                                            WHATSAPP’S MOTION TO
  COO
ATTORN                                                         -1-                     DISQUALIFY DEFENSE COUNSEL
 SAN F                                                                                  CASE NO. 4:19-CV-07123-PJH
                   Case 4:19-cv-07123-PJH Document 59-5 Filed 04/29/20 Page 6 of 18



          1   I.     INTRODUCTION

          2          King & Spalding is violating a bedrock requirement of attorney loyalty: the duty to avoid

          3   switching sides and opposing a client that it once represented. Previously, King & Spalding

          4   represented WhatsApp in a matter that involved

          5                                                                          . In that representation, King

          6   & Spalding learned detailed, confidential information about

          7                           . Now, however, King & Spalding has turned the tables so it can act on behalf

          8   of WhatsApp’s adversary on a substantially related matter, one in which WhatsApp seeks to redress

          9   an unlawful access into WhatsApp’s servers and technology. Any attorney defending this suit would

         10   love to have insight into how WhatsApp’s platform and systems work. And King & Spalding has that

         11   insight—because it was once WhatsApp’s counsel. The law does not countenance that form of

         12   revolving-door representation. WhatsApp called this conflict to King & Spalding’s attention, but the

         13   firm has declined to step aside—or even, as of this filing—return WhatsApp’s files to it. Because

         14   King & Spalding’s representation of Defendants violates the law—transforming itself from

         15   WhatsApp’s trusted advisor to its fierce adversary—King & Spalding must be disqualified.

         16          Starting in approximately December 2015, King & Spalding represented WhatsApp in

         17   connection with a sealed proceeding in

         18

         19           .1 During that representation, King & Spalding received, had access to, and communicated

         20   extensively with WhatsApp about highly confidential information concerning

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         23                                                           . This same information is front and center

         24   in this case. Here, Defendants, unable to break WhatsApp’s end-to-end encryption for messages in

         25   transit, circumvented it by reverse engineering and attacking the WhatsApp app.

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                The matter in                                   remains under seal. See WhatsApp’s Request for
         28   Judicial Notice, filed concurrently herewith.
                                                                                         WHATSAPP’S MOTION TO
  COO
ATTORN                                                        -2-                    DISQUALIFY DEFENSE COUNSEL
 SAN F                                                                                CASE NO. 4:19-CV-07123-PJH
                    Case 4:19-cv-07123-PJH Document 59-5 Filed 04/29/20 Page 7 of 18



          1           King & Spalding’s participation in the prior representation was also substantial; its attorneys

          2   were involved in all aspects of the sealed proceeding. For example, King & Spalding participated in

          3   multiple calls with WhatsApp, helped draft correspondence on WhatsApp’s behalf                          ,

          4   and                                                                                 . All of these tasks

          5   required the firm’s attorneys to have knowledge of the confidential technical aspects of WhatsApp’s

          6   platform.

          7           Given the substantial overlap between the factual issues presented in both matters, King &

          8   Spalding’s representation of Defendants in this case violates Local Rule 11-4(a)(1) and California

          9   Rule of Professional Conduct 1.9. Confidential information that WhatsApp disclosed to King &

         10   Spalding is at risk of being disclosed to Defendants and used against WhatsApp in this litigation.

         11   Neither the Local Rules nor well-established case law permits such a result. Put simply, no client

         12   would ever expect to reveal the proprietary and nonpublic details of its product to its lawyers only to

         13   find those lawyers acting adversely to it a few years later on a case involving the same technology and

         14   on behalf of a client that marketed and sold the ability to attack and exploit its network.

         15   II.     BACKGROUND

         16           A.     WhatsApp Service

         17           WhatsApp provides an end-to-end encrypted communication service available on mobile

         18   devices (the “WhatsApp Service”). Declaration of Nitin Gupta (“Gupta Decl.”) ¶ 2. Users can install

         19   the WhatsApp app on a mobile device to use the WhatsApp Service and can also access the WhatsApp

         20   service through a desktop website. Id. The app is a software program, also referred to as the client

         21   software, which runs on a user’s device.2 See id.

         22           The WhatsApp Service allows calls or messages to be made or sent from a user’s device to any

         23   other WhatsApp user. See Gupta Decl. ¶ 3. These communications are fully encrypted on the user’s

         24   device and transmitted through WhatsApp’s servers in encrypted form, before being decrypted on the

         25   receiving user’s device. See id. WhatsApp’s encryption software on clients and servers, as well as its

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                Client software means software that runs on a device that accesses a server, i.e., a computer that
         27   provides information, services, or other information to another, local device—the client. See Gupta
              Decl. ¶ 2. Here, a user’s mobile device or computer (the client) has software (the client software) to
         28   connect to WhatsApp’s servers.
                                                                                            WHATSAPP’S MOTION TO
  COO
ATTORN                                                         -3-                      DISQUALIFY DEFENSE COUNSEL
 SAN F                                                                                   CASE NO. 4:19-CV-07123-PJH
Case 4:19-cv-07123-PJH Document 59-5 Filed 04/29/20 Page 8 of 18
                    Case 4:19-cv-07123-PJH Document 59-5 Filed 04/29/20 Page 9 of 18



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          5            required King & Spalding to understand WhatsApp’s

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          7                              See id. King & Spalding also participated in multiple calls in which these

          8   details were discussed and                                                                        See

          9   id. ¶ 12.

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         20            C.      King & Spalding has denied there is any conflict.

         21            King & Spalding entered its appearance in this case on March 6, 2020. See ECF No. 23; see

         22   also ECF No. 26. On March 18, 2020, counsel for Plaintiffs in this case contacted King & Spalding

         23   regarding WhatsApp’s concerns about the conflict. See LeBlanc Decl. ¶ 2, Ex. A. The next day,

         24   Robert Thornton, King & Spalding’s General Counsel, called Plaintiffs’ counsel, indicating that King

         25   & Spalding was reviewing the conflict issue and anticipated that it could reach a decision by the week

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                  WhatsApp can make these letters available to the Court for in camera review.
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               WhatsApp can also make the Government’s sealed filing
         28   available for in camera review.
                                                                                          WHATSAPP’S MOTION TO
  COO
ATTORN                                                         -5-                    DISQUALIFY DEFENSE COUNSEL
 SAN F                                                                                 CASE NO. 4:19-CV-07123-PJH
                     Case 4:19-cv-07123-PJH Document 59-5 Filed 04/29/20 Page 10 of 18



          1   of March 23, 2020. See id. ¶ 3. On Friday, March 27, 2020, Mr. Thornton reported that he was still

          2   investigating the prior representation and needed more time to reach a decision. See id. ¶ 6. As an

          3   alternative to withdrawing, Mr. Thornton proposed implementing an ethical wall. See id. WhatsApp

          4   rejected this offer. See id. ¶ 7. Subsequently, on Tuesday, March 31, 2020, King & Spalding informed

          5   Plaintiffs’ counsel that they did not intend to withdraw. See id. ¶ 9.

          6             WhatsApp has repeatedly asked that King & Spalding return its client files. See LeBlanc Decl.

          7   ¶¶ 2, 9, 10, 11. While King & Spalding has returned only one document to date, a review of emails

          8   exchanged between WhatsApp and King & Spalding attorneys, which were in WhatsApp’s

          9   possession, shows that King & Spalding was deeply involved in discussions regarding

         10

         11                                       —the very subject matter of the current case. See id. ¶¶ 13-14.

         12   III.      LEGAL STANDARD

         13             Federal courts in this district apply California law when determining whether to disqualify

         14   counsel due to a conflict of interest. All Am. Semiconductor, Inc. v. Hynix Semiconductor, Inc., Nos.

         15   C 07-1200, C 07-1207, C 07-1212, C 06-2915, 2008 WL 5484552, at *4 (N.D. Cal. Dec. 18, 2008)

         16   (Hamilton, J.) (“Motions to disqualify counsel are decided under state law.”); see also Hitachi, Ltd. v.

         17   Tatung Co., 419 F. Supp. 2d 1158, 1160 (N.D. Cal. 2006) (same); Civ. L.R. 11-4(a)(1). California

         18   Rule of Professional Conduct 1.9 (formerly Rule 3-310(E)) prohibits an attorney from engaging in

         19   successive representations where the attorney possesses the former client’s confidential information

         20   and that information is material to the later, adverse representation.6 This rule “must be vigorously

         21   applied to protect a former client’s legitimate expectations of loyalty and trust.” Adams v. Aerojet-

         22   General Corp., 86 Cal. App. 4th 1324, 1339-40 (2001) (applying former Rule 3-310(E)); see also

         23   Flatt v. Super. Ct., 9 Cal. 4th 275, 283 (1994) (“Where the potential conflict is one that arises from

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              6
                 Rule 1.9 provides, “A lawyer who has formerly represented a client in a matter shall not thereafter
         25   represent another person in the same or a substantially related matter in which that person’s interests
              are materially adverse to the interests of the former client unless the former client gives informed
         26   written consent.” See Cal. R. of Prof. Conduct Rule 1.9(a). That Rule further establishes that “[a]
              lawyer . . . whose present or former firm has formerly represented a client in a matter shall not
         27   thereafter[] use information protected by Business and Professions Code section 6068, subsection (e)
              and rule 1.6 acquired by virtue of the representation of the former client to the disadvantage of the
         28   former client . . . .” Id. Rule 1.9(c)(1).
                                                                                           WHATSAPP’S MOTION TO
  COO
ATTORN                                                         -6-                     DISQUALIFY DEFENSE COUNSEL
 SAN F                                                                                  CASE NO. 4:19-CV-07123-PJH
                 Case 4:19-cv-07123-PJH Document 59-5 Filed 04/29/20 Page 11 of 18



          1   the successive representation of clients with potentially adverse interests, the courts have recognized

          2   that the chief fiduciary value jeopardized is that of client confidentiality.”). Courts employ two tests

          3   when assessing successive representations. TWiT, LLC v. Twitter Inc., No. 18-cv-00341-JSC, 2018

          4   WL 2470942, at *3, *5 (N.D. Cal. June 1, 2018). Each test on its own is sufficient to establish a

          5   conflict of interest. Id.

          6             First, where the two representations have a “substantial relationship,” the attorney may not

          7   “serv[e] as counsel to a successive client in litigation adverse to the interests of the first client . . . .”

          8   Flatt, 9 Cal. 4th at 283. When determining whether the representations have a substantial relationship,

          9   courts examine whether the attorney’s relationship with the former client was “direct and personal”

         10   and “whether there is a connection between the two successive representations . . . .” Farris v.

         11   Fireman’s Fund. Ins. Co., 119 Cal. App. 4th 671, 679 (2004). In other words, the two representations

         12   have a substantial relationship where “the attorney had a direct professional relationship with the

         13   former client in which the attorney personally provided legal advice and services on a legal issue that

         14   is closely related to the legal issue in the present representation.” City & Cty. of S.F. v. Cobra Sols.,

         15   Inc., 38 Cal. 4th 839, 847 (2006). Once a substantial relationship is shown, “the attorney is presumed

         16   to possess confidential information,” and “the former client need not prove that the attorney possess

         17   actual confidential information.” Id. This presumption operates to “avoid[] the ironic result of

         18   disclosing the former client’s confidences and secrets through an inquiry into the actual state of the

         19   lawyer’s knowledge . . . .” H.F. Ahmanson Co. v. Salomon Bros., Inc., 229 Cal. App. 3d 1445, 1453

         20   (1991).

         21             Second, regardless of whether the former client shows a substantial relationship between the

         22   successive representations, disqualification is required if the former client can “prove the lawyer in

         23   fact obtained such [material confidential] information.” TWit, 2018 WL 2470942, at *5 (internal

         24   quotation and citation omitted) (emphasis added); see also H.F. Ahmanson, 229 Cal. App. 3d at 1452;

         25   Wu v. O’Gara Coach Co., 38 Cal. App. 5th 1069, 1083 (2019) (“[K]nowledge of specific facts gained

         26   in a prior representation that are relevant to the matter in question ordinarily will preclude [a

         27   successive] representation.”) (quoting ABA Model Rules Prof. Conduct, Rule 1.9, cmt. 3).

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                                                                                                WHATSAPP’S MOTION TO
  COO
ATTORN                                                           -7-                        DISQUALIFY DEFENSE COUNSEL
 SAN F                                                                                       CASE NO. 4:19-CV-07123-PJH
                    Case 4:19-cv-07123-PJH Document 59-5 Filed 04/29/20 Page 12 of 18



          1            If a conflict exists between two successive representations—whether through the existence of

          2   a substantial relationship or through the actual possession of confidential information—the conflict is

          3   imputed to the entire law firm. See Flatt, 9 Cal. 4th at 283 (“Where the requisite substantial

          4   relationship between the subjects of the prior and the current representations can be demonstrated, . . .

          5   the disqualification extends vicariously to the entire firm.”).

          6   IV.      ARGUMENT

          7            King & Spalding is engaged in an impermissible successive representation in violation of Local

          8   Rule 11-4(a)(1) and California Rule of Professional Conduct 1.9. Specifically, King & Spalding is

          9   prohibited from representing Defendants in this case for two reasons, each independently sufficient:

         10   (1) this litigation is substantially related to the proceeding in                                  , and

         11   (2) attorneys at King & Spalding obtained WhatsApp’s confidential information during

         12                       representation and that information is material to the present dispute. Because this

         13   conflict is imputed to the entire firm, WhatsApp respectfully requests that the Court grant its motion

         14   to disqualify King & Spalding from representing Defendants in this case.

         15            A.     This matter is substantially related to the matter in
         16

         17            When determining whether a substantial relationship exists, courts focus on the relationship of

         18   the attorney to the former client and “whether there is a connection between the two successive

         19   representations . . . .” Farris, 119 Cal. App. 4th at 679 (quoting Jessen v. Hartford Casualty Ins. Co.,

         20   111 Cal. App. 4th 698, 710 (2003)). Where “the evidence before the trial court supports a rational

         21   conclusion that information material to the evaluation, prosecution, settlement or accomplishment of

         22   the former representation given its factual and legal issues is also material to the evaluation,

         23   prosecution, settlement or accomplishment of the current representation given its factual and legal

         24   issues,” a substantial relationship exists. Jessen, 111 Cal. App. 4th at 713. Once a court finds a

         25   substantial relationship exists, the attorney is presumed to possess the former client’s information, and

         26   disqualification is required. Cobra, 38 Cal. 4th at 847. Here, the two representations are substantially

         27   related because King & Spalding directly represented WhatsApp in a matter that involved highly

         28   confidential information and trade secrets that are material to this case. See Farris, 119 Cal. App. 4th
                                                                                            WHATSAPP’S MOTION TO
  COO
ATTORN                                                          -8-                     DISQUALIFY DEFENSE COUNSEL
 SAN F                                                                                   CASE NO. 4:19-CV-07123-PJH
                 Case 4:19-cv-07123-PJH Document 59-5 Filed 04/29/20 Page 13 of 18



          1   at 679 (looking to whether the attorney’s relationship with the former client was “direct and personal”

          2   and “whether there is a connection between the two successive representations”).

          3          To begin, the King & Spalding attorneys involved in the previous                     had a “direct”

          4   relationship with WhatsApp because they personally provided WhatsApp with legal advice in the

          5                                 matter. See Sommer Decl. ¶¶ 3-4, 8-12; Jessen, 111 Cal. App. 4th at 709

          6   (relationship is direct where “the lawyer was personally involved in providing legal advice and

          7   services to the former client”).

          8          As such, the only question is whether “the subjects of the prior representation are such as to

          9   ‘make it likely the attorney acquired confidential information’ that is relevant and material to the

         10   present representation.” Cobra, 38 Cal. 4th at 847 (citation omitted); see also Farris, 119 Cal. App.

         11   4th at 679. They are. Indeed, “[t]he substantial relationship test does not require that the issues in the

         12   two representations be identical.” Trone v. Smith, 621 F.2d 994, 1000 (9th Cir. 1980). Instead, the

         13   substantial relationship test requires only that the subject matters of the two representations are such

         14   that the attorney was likely to have acquired information that is “directly at issue in, or ha[s] some

         15   critical importance to, the second representation.” Farris, 119 Cal. App. 4th at 680.          When two

         16   matters involve the details of a client’s technology, courts routinely find that the subject matters of the

         17   litigations are sufficiently similar to conclude that a substantial relationship exists and disqualify

         18   counsel from handling the new representation adverse to their former client. See Asyst Techs., Inc. v.

         19   Empak, Inc., 962 F. Supp. 1241, 1242 (N.D. Cal. 1997) (collecting cases in the patent context); see

         20   also SC Innovations, Inc. v. Uber Techs., Inc., No. 18-cv-07440-JCS, 2019 WL 1959493, at *7-9 (N.D.

         21   Cal. May 2, 2019) (matters substantially related in part because same product was at issue); Beltran v.

         22   Avon Products, Inc., 867 F. Supp. 2d 1068, 1082 (C.D. Cal. 2012) (matters were substantially related

         23   in part because both matters required knowledge of moving party’s testing protocols for beauty

         24   products).

         25          SC Innovations is particularly instructive here. There, the court considered a motion by Uber

         26   to disqualify SC Innovations, Inc.’s firm—Quinn Emanuel Urquhart & Sullivan LLP—on the basis

         27   that it had previously represented Uber in a substantially related matter. 2019 WL 1959493, at *1.

         28   Specifically, Quinn Emanuel had defended Uber against antitrust claims brought by taxi operators. Id.
                                                                                              WHATSAPP’S MOTION TO
  COO
ATTORN                                                          -9-                       DISQUALIFY DEFENSE COUNSEL
 SAN F                                                                                     CASE NO. 4:19-CV-07123-PJH
                  Case 4:19-cv-07123-PJH Document 59-5 Filed 04/29/20 Page 14 of 18



          1   at *2. SC Innovations argued that the representations were not substantially related because the prior

          2   representation involved claims brought by “traditional taxi companies” and the current representation

          3   involved a claim brought by a “ride-hailing app[].” Id. at *6. The court rejected that argument and

          4   concluded the representations were substantially related, reasoning in part that the present case “and

          5   the taxi cases all relate[d] to the same services provided by Uber,” “required at least some degree of

          6   discovery into and analysis of the same Uber operations,” and involved “the same class of Uber

          7   products . . . .” Id. at *7, *9.

          8           That logic applies here because both representations involve

          9                                                                                                     . The

         10   prior representation in which King & Spalding represented WhatsApp involved

         11

         12                                                              . See Sommer Decl. ¶¶ 8-12. The current

         13   representation has King & Spalding representing Defendants against WhatsApp on claims that

         14   Defendants, in order to circumvent WhatsApp’s encryption, exploited WhatsApp’s app and platform

         15   to unlawfully compromise the targeted devices of WhatsApp users.              Put simply, WhatsApp’s

         16   technology and systems are at the heart of                     current representations.

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         23                                          Plaintiffs allege in this case that Defendants reverse engineered

         24   the WhatsApp app and developed a program that enabled them to emulate legitimate WhatsApp

         25   network traffic. See, e.g., Compl. ¶¶ 35-45. Plaintiffs further allege that the Defendants’ sophisticated

         26   program was built to exploit specific components of WhatsApp’s network protocols and code and

         27   designed to conceal their malicious code by masking it as a part of a legitimate message. See id. ¶¶

         28   35-45, 54. Plaintiffs further allege that these malicious transmissions sent by Defendants through
                                                                                            WHATSAPP’S MOTION TO
  COO
ATTORN                                                        -10-                      DISQUALIFY DEFENSE COUNSEL
 SAN F                                                                                   CASE NO. 4:19-CV-07123-PJH
Case 4:19-cv-07123-PJH Document 59-5 Filed 04/29/20 Page 15 of 18
                 Case 4:19-cv-07123-PJH Document 59-5 Filed 04/29/20 Page 16 of 18



          1          In turn, the Court must impute this conflict to the entire firm. See Flatt, 9 Cal. 4th at 283

          2   (imputing conflict where substantial relationship existed).          Because Mr. Mezzina represented

          3   WhatsApp and continues to practice at King & Spalding, see LeBlanc Decl. ¶ 4, the inquiry ends, and

          4   King & Spalding should be disqualified from representing Defendants in this case. Adams, 86 Cal.

          5   App. 4th at 1333 (“It is now firmly established that where the attorney is disqualified from

          6   representation due to an ethical conflict, the disqualification extends to the entire firm.”).

          7          Even if that were not the case, the Court should impute Ms. O’Neil, Mr. Wray, and Mr.

          8   Oldham’s conflicts to the entirety of the King & Spalding firm. Where some conflicted attorneys have

          9   since left a firm, courts still impute the conflict where (1) the representations are substantially related,

         10   and (2) any attorney remaining at the firm has protected information that is material to the subsequent

         11   representation. See Goldberg v. Warner/Chappell Music, Inc., 125 Cal. App. 4th 752, 765 (2005).

         12   Those requirements are satisfied here. Indeed, a court in this district has in fact imputed a conflict to

         13   an entire firm in a situation almost identical to this one. See Davis v. EMI Grp. Ltd., No. 12-cv-1602

         14   YGR, 2013 WL 75781, at *4-5 (N.D. Cal. Jan. 4, 2013). In Davis, the court imputed a conflict to the

         15   entire firm where the lead attorneys on the prior representation had since left the firm because attorneys

         16   who had performed work for the prior client remained at the firm and the firm still possessed the

         17   former client’s files. Id. at *4-5. To emphasize, King & Spalding has acknowledged that Mr. Mezzina

         18   remains at the firm and that it still possesses the entire files for its representation of WhatsApp, which

         19   files necessarily include confidential information material to the current litigation. See LeBlanc Decl.

         20   ¶ 3. And the fact that a firm retains a former client’s files supports imputing the conflict to the entire

         21   firm. See Davis, 2013 WL 75781, at *5.

         22           King & Spalding may argue that its untimely offer to impose an ethical wall is sufficient to

         23   cure this conflict. It is not. An ethical wall cannot prevent the imputation of a conflict unless two

         24   basic requirements are satisfied. First, “the screen must be timely imposed; a firm must impose

         25   screening measures when the conflict first arises.” Kirk v. First Am. Title Ins. Co., 183 Cal. App 4th

         26   776, 810 (2010) (emphasis added). Second, “an effective wall involves the imposition of preventive

         27   measures to guarantee that [confidential] information will not be conveyed.” Id. Here, King &

         28   Spalding’s proposed ethical wall, even if implemented, would be insufficient to rebut the imputation
                                                                                              WHATSAPP’S MOTION TO
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 SAN F                                                                                     CASE NO. 4:19-CV-07123-PJH
                 Case 4:19-cv-07123-PJH Document 59-5 Filed 04/29/20 Page 17 of 18



          1   of the conflict because it was not timely imposed and thus necessarily would not have prevented the

          2   King & Spalding lawyers representing Defendants in this litigation from obtaining information after

          3   their retention and prior to imposition of the ethical wall. See LeBlanc Decl. ¶ 6 (ethical wall was not

          4   in place as of March 27, 2020); see also Kirk, 183 Cal. App. 4th at 810 (“[S]creening should be

          5   implemented before undertaking the challenged representation. . . . It is not sufficient to simply

          6   produce declarations stating that confidential information was not conveyed . . . .”) (emphasis added).

          7   As such, the conflict at issue should be imputed to all of King & Spalding.

          8          B.       King & Spalding possesses WhatsApp’s confidential information that is material
                              to this litigation.
          9

         10          Even if the matters were not substantially related, disqualification is required if the former
         11   client can “prove the lawyer in fact obtained [the former client’s confidential] information.” TWiT,
         12   2018 WL 2470942, at *5; see also H.F. Ahmanson, 229 Cal. App. 3d at 1452 (“A former client may
         13   seek to disqualify a former attorney from representing an adverse party by showing the former attorney
         14   actually possesses confidential information adverse to the former client”). WhatsApp has made that
         15   showing here.
         16

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         21                          In other words, based on its previous representation of WhatsApp, King &
         22   Spalding has confidential knowledge of how WhatsApp’s systems work, including but not limited to:
         23

         24                                                                                         .
         25          As noted, this information is at the heart of the present litigation, which centers on Defendants’
         26   circumvention of WhatsApp’s encrypted platform to gain unauthorized access to users’ private
         27   communications. And this information is still in King & Spalding’s possession. See LeBlanc Decl.
         28
                                                                                            WHATSAPP’S MOTION TO
  COO
ATTORN                                                        -13-                      DISQUALIFY DEFENSE COUNSEL
 SAN F                                                                                   CASE NO. 4:19-CV-07123-PJH
                   Case 4:19-cv-07123-PJH Document 59-5 Filed 04/29/20 Page 18 of 18



          1   ¶¶ 3-4 (explaining that King & Spalding still possesses WhatsApp’s files and that Mr. Mezzina is

          2   presently a partner at King & Spalding). As such, the Court should also impute this conflict to the

          3   entire firm. See Henriksen v. Great Am. Savings & Loan, 11 Cal. App. 4th 109, 117 (1992) (imputing

          4   conflict where attorney had obtained confidential information in prior representation); see supra pp.

          5   13-14 & n.4 (explaining why conflict should be imputed here and why proposed ethical wall is

          6   insufficient to rebut the imputation). Accordingly, King & Spalding should be disqualified for the

          7   additional reason that it possesses WhatsApp’s confidential information, which is material to this

          8   dispute.

          9   V.      CONCLUSION

         10           In sum, King & Spalding is engaged in an impermissible successive representation for each of

         11   two independently sufficient reasons: it previously represented WhatsApp in a matter substantially

         12   related to the present litigation, and it otherwise possesses WhatsApp’s confidential information that

         13   is material to this dispute. For these reasons, WhatsApp respectfully requests that the Court grant its

         14   motion to disqualify King & Spalding from representing Defendants in this case.

         15

         16   Dated: April 10, 2020                        Respectfully submitted,

         17                                                COOLEY LLP

         18                                                                /s/ Michael G. Rhodes
                                                                           Michael G. Rhodes
         19
                                                           Attorneys for Plaintiffs
         20                                                WHATSAPP INC. and FACEBOOK, INC.

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  COO
ATTORN                                                       -14-                      DISQUALIFY DEFENSE COUNSEL
 SAN F                                                                                  CASE NO. 4:19-CV-07123-PJH
